                                              March 5, 2024

VIA ECF

Honorable Taryn A. Merkl
United States Magistrate Judge
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:     Bartlett v. Société Générale de Banque au Liban S.A.L., Case No. 19-cv-0007

Dear Judge Merkl:
        Plaintiffs write in response to SCB’s letter motion to the Court. ECF No. 374 (“Ltr.”).
Although it is unclear from SCB’s letter, the court in Freeman v. HSBC Holdings plc, No. 18-cv-
7359 (PKC) (CLP) (E.D.N.Y.) (“Freeman II”), lifted the stay of discovery in that case so that
Plaintiffs can request records produced in Bartlett. In doing so, it permitted SCB to ask this Court
whether the protective order in this case (“PO,” ECF No. 273) somehow prohibits the Freeman II
plaintiffs from even requesting records produced pursuant to the PO (it does not, as case law in
this Circuit makes clear, and SCB does not seriously argue otherwise).
        As detailed below, this Court explained that if “Judge Pollak or Judge Chen … commence
discovery in” Freeman, then Bartlett “discovery may be cross-applied” between the cases.
9/27/2023 Transcript at 59. Judge Chen lifted the stay of discovery in Freeman II specifically so
that Plaintiffs can request from SCB (and KBC Bank, which has not objected) “the information
obtained in Bartlett (19cv7).” Freeman II, February 8, 2024 Minute Order.
       But SCB clings to the “absurd tenet that a party can avoid discovery in one case merely
because it disclosed the same material to an adversary bound by a protective order in another case.”
Carter-Wallace, Inc. v. Hartz Mtn. Indus., 92 F.R.D. 67, 69 (S.D.N.Y. 1981). In support of this
untenable proposition, SCB misrepresents proceedings in Freeman and this Courts’ orders on
discovery and repeats its bizarre accusation that Plaintiffs have violated the PO, evidently by
providing generalized descriptions of information they have not disclosed in the Freeman case.
       The Court can draw its own inferences as to why SCB appears so desperate to keep the
Freeman court from seeing, let alone considering, certain allegations derived from third-party
discovery produced here, but that does not excuse its misrepresentations of the record or its ad
hominem attacks on the Plaintiffs (much less in a procedural dispute).
                                        BACKGROUND
      Plaintiffs filed Freeman II on December 26, 2018, amending it on December 16, 2019
(“FAC”), alleging that the “Defendants aided and abetted … the IRGC (FTO) and Hezbollah
(FTO),” by “knowingly provid[ing] substantial assistance, directly or indirectly, to the IRGC …
and Hezbollah.” FAC ¶¶ 3746-47. The court dismissed the FAC’s aiding and abetting claims
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against most of the defendants on June 5, 2020, see Freeman II, 465 F. Supp. 3d 220 (E.D.N.Y.
2020), but it did not enter a final judgment and stayed the case at the parties’ request pending
resolution of an appeal in the related case Freeman v. HSBC Holdings plc, No. 14-cv-6601 (PKC)
(CLP) (E.D.N.Y.), and, later, Twitter, Inc. v. Taamneh, 598 U.S. 471 (2023).
        When the Freeman court turned back to Freeman II, the plaintiffs moved to amend their
complaint because the court’s dismissal decision relied on the erroneous pleading standards set
forth in the district court opinions Honickman v. BLOM Bank SAL, 432 F. Supp. 3d 253 (E.D.N.Y.
2020), and Kaplan v. Lebanese Canadian Bank, 405 F. Supp. 3d 525 (S.D.N.Y. 2019), which were
subsequently rejected by the Second Circuit.1 Plaintiffs explained that their proposed amendment
would reflect the standards delineated in the Circuit’s decisions (as well as the further guidance
provided by Taamneh decision),2 but it was also an opportunity to add information they had
acquired in the intervening years, including (but far from limited to) information sourced from
records they received in Bartlett that indicated that certain Freeman defendants held accounts for
and/or processed transactions for the IRGC and Hezbollah. See Exhibit A (Freeman II, 6/27/2023
Transcript) at 10-11, 42.
       Thus, despite SCB’s mischaracterizations, the Freeman plaintiffs did not predicate their
request to amend the Freeman II complaint on facts produced in Bartlett—they based it on the
Second Circuit’s clarification of legal standards. In any event, the Freeman court granted plaintiffs’
motion to file a second amended complaint (“SAC”) over defendants’ objections.
        In order to include allegations in the SAC summarizing information produced pursuant to
the Bartlett PO, Plaintiffs here moved for permission to apply Bartlett discovery in Freeman
(“Bartlett PO Motion”). See ECF No. 335. The Freeman plaintiffs also requested that the Freeman
court lift the stay of discovery in that case so that they could (constructively) subpoena the records
to the extent necessary to include those allegations in their complaint under seal and subject to the
same protections provided for in the Bartlett PO. The Freeman court denied that motion pending
this Court’s consideration of the Bartlett PO Motion.
        This Court denied the Bartlett PO Motion “without prejudice,” noting that if “Judge Pollak
or Judge Chen … commence discovery in” Freeman, “discovery may be cross-applied” between
the cases. 9/27/2023 Transcript at 59. The Bartlett Plaintiffs filed objections to Judge Amon, who
affirmed that ruling on December 21, 2023. ECF No. 368. Judge Amon likewise premised her
decision in part on the finding that “the Freeman parties at this stage in their litigation have not
been permitted to engage in discovery.” Id. at 10-11. Indeed, Judge Chen noted this Court’s “ruling
was really based on the fact that discovery had not restarted here.” 2/5/2024 Transcript, filed in
Bartlett as ECF No. 375-1, at 8.


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          In Honickman, the Second Circuit “agree[d] [with the plaintiffs] that the court did not apply the proper
standard” both as to aiding and abetting and pleading knowledge generally. 6 F.4th 487, 490, 497 (2d Cir. 2021). In
Kaplan, the Circuit likewise rejected the aiding and abetting and knowledge pleading standards fashioned by the lower
court, finding that the latter “def[ied] common sense.” 999 F.3d 842, 864, 867 (2d Cir. 2021).
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         As no judgment was entered in Freeman II, that court was free to grant amendment or otherwise reconsider
its dismissal decision. Even if it had entered judgment, the Second Circuit clarified in Honickman it is an abuse of
discretion not to vacate a judgment premised on incorrect standards to permit amendment to meet the correct ones.
See Honickman v. Blom Bank, No. 22-1039, 2024 U.S. App. LEXIS 4748 (2d Cir. Feb. 29, 2024).
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        The Freeman court had extended the plaintiffs’ deadline to file their SAC to December 27,
2023, given Your Honor’s and Judge Amon’s review of Plaintiffs’ motions. Because the Freeman
plaintiffs only had 6 days between Judge Amon’s ruling and their deadline to amend their
complaint, they determined that they would be unlikely to receive relief from the Freeman court
as to any renewed motion for discovery filed over the Christmas holidays. To preserve their rights,
they therefore filed their SAC and redacted all references to information sourced from records
produced in Bartlett and, in an abundance of caution, redacted non-confidential allegations relating
to some of those customers to prevent any inferences as to the content of the redactions. The
Freeman plaintiffs did not share the redacted allegations with the plaintiffs in Stephens v. HSBC
Holdings, No. 18-cv-7439 (another, related case before Judge Chen brought by different counsel),
any Freeman defendant (except SCB, at SCB’s request) or even the Freeman court itself.
       While the Freeman plaintiffs were preparing to renew their discovery motion, SCB
preemptively requested that the Freeman court compel the plaintiffs to refile their brief without
the redacted allegations, arguing that the redactions violated the PO in this case. The Freeman
court denied that motion. See Freeman II, January 8, 2024 Minute Order.
        The Freeman plaintiffs then renewed their discovery motion, seeking to lift the stay of
discovery in that case in order to effectively “subpoena” themselves for the records, which would
impose no burden whatsoever on any producing party. SCB argued that lifting the discovery stay
was inappropriate at that stage. It repeated its argument that redactions in the SAC somehow
violate the PO, which Judge Chen again rejected: “[Filing redactions] I don’t consider misuse just
yet because it really hasn’t come to fruition. I mean, it’s sitting there under, you know, blackout,
so that’s not using it, in my opinion.” 2/5/2024 Transcript at 18. To the contrary, Judge Chen
acknowledged that the Freeman plaintiffs should be entitled to use information that is in their
possession: “I don’t like knowing that there is this information out there that could well be helpful,
or at least plaintiffs believe it’s helpful. And it is there, it has been produced, it’s not speculative,
and it even physically exists in plaintiffs’ possession.” Id. at 29. See id. at 21 (finding that Plaintiffs
acted “diligently” and “justice more requires me to look at what exists rather than rely or vaunt, I
guess, procedure over substance”).
         Despite SCB’s objections, the Freeman court “lifted the stay of discovery in Freeman
II/Bowman for the limited purpose of permitting the Freeman II/Bowman Plaintiffs to subpoena
Defendant Standard Chartered Bank and non-party KBC Bank for the information obtained in
Bartlett (19cv7) that is the subject of Plaintiffs’ letter motion for discovery.” February 6, 2024
Minute Order. The court permitted SCB to file a motion to quash the subpoena and write this Court
a letter because “I guess you want to present the argument to Judges Merkl and Amon that even
using their knowledge of this information to subpoena the same records in my case runs afoul of
the protective order.” 2/5/2024 Transcript at 23-24. See id. at 24 (“hazard[ing] a guess” that this
Court would find making such a request did not violate the PO).
       Instead, SCB’s letter again argues that Plaintiffs have violated the PO by “using” the
records in their Freeman II SAC, despite never disclosing a single confidential fact:
        In order to feign compliance with the Protective Order, the Freeman II plaintiffs
        did not publicly file those allegations, or disclose them to the Freeman II court or
        the other parties in that case.
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Ltr. at 2.
        That is, to “feign compliance” with the PO, plaintiffs did not disclose the information
covered by the PO to anyone.3 Without being able to cite to an actual violation, SCB argues that
the Freeman II plaintiffs improperly “used” confidential information in the way they
“characterized” or “described” the redacted allegations. But Plaintiffs have consistently described
the information in generalized terms as transactions involving alleged Hezbollah-affiliated entities,
just as Judge Amon did in her decision, see ECF No. 368 at 3, with no suggestion from SCB or
anyone else that these generalized descriptions violated the PO.
        In any event, the Freeman court has twice now rejected SCB’s argument that redacted
allegations are somehow impermissible, a fact SCB fails to share with this Court. Nor did the
Freeman court direct SCB to ask this Court whether the redactions it already declined to excise
from the Freeman II SAC somehow violate the PO. The intended focus of the letter was to ask this
Court whether simply requesting the redacted information as authorized by the Freeman court
could itself somehow impinge on this Court’s PO. As explained below, it does not.
                                                  ARGUMENT
       POs do not generally immunize records from discovery requests in other cases. After all,
this Court already explained that if “Judge Pollak or Judge Chen … commence discovery in”
Freeman, “discovery may be cross-applied.” 9/27/2023 Transcript at 59. And as noted above, it
would be “absurd” to suggest SCB “can avoid discovery in one case merely because it disclosed
the same material to an adversary bound by a protective order in another case.” Carter-Wallace,
92 F.R.D. at 69. Thus, “a protective order that prohibited disclosure by the ‘receiving party’ d[oes]
not prohibit disclosure by the person ‘that originally controlled the evidence.’” U.S. SEC v. Iftikar
Ahmed, No. 15-cv-675 (JBA), 2023 U.S. Dist. LEXIS 68225, at *7 (D. Conn. Apr. 18, 2023)
(quoting Carter-Wallace, 92 F.R.D. at 69). Carter-Wallace involved plaintiffs in another case
requesting records from a producing party, produced pursuant to a protective order that only
prevented the receiving party from disclosing those records. 92 F.R.D. at 69. Likewise, the Bartlett
PO only prevents “disclos[ure] by the Receiving Party.” PO ¶ E.1 (emphasis added).
        As is clear from Carter-Wallace, requesting records produced pursuant to a PO is not a
“misuse” of those records. Where records might be relevant in “currently pending matters or future
cases similar to the case at bar,” the producing party “cannot rely on the Protective Order as a
means of protecting discovery that would otherwise be discoverable in the related actions.”
Charter Oak Fire Ins. Co. v. Electrolux Home Prods., 287 F.R.D. 130, 134 (E.D.N.Y. 2012).
Indeed, “allowing the sharing of discovery among related cases is an efficient and effective means
of avoiding duplicative and costly discovery, as well as avoiding unnecessary delay in the
adjudication of cases.” Id.
       In In re EPDM Antitrust Litigation, non-party Stone Paradise sought to intervene to access
records produced pursuant to a protective order in EPDM that it “believe[d] … will be relevant in
pursuing” its own claims in Canada while avoiding “duplicative discovery”: “Stone Paradise is
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         SCB likewise argues, “Incredibly, … the Freeman II plaintiffs argued that Plaintiffs have not violated the
Protective Order by using the Bartlett discovery outside of Bartlett because they did not publicly disclose the specific
contents of the protected documents,” id.—as if this were not precisely the definition of complying with a PO.
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hoping to avoid the time and expense of conducting duplicative discovery by having access granted
to the materials filed in connection with this suit. Stone Paradise has agreed to abide by the terms
of the Protective Order ….” 255 F.R.D. 308, 314 (D. Conn. 2009). Far from suggesting Stone
Paradise could not request documents in one matter that it knew must exist in another, the court
granted the motion.
        Still, the Freeman plaintiffs re-issued effectively the same document request that SCB
received in Bartlett in the form of a subpoena because the original subpoena (1) was not
confidential and (2) was drafted before SCB produced anything—thus, the document request does
not reference any specific records SCB actually produced. Plaintiffs explicitly stated that they only
requested whatever is necessary to file an unredacted version of the SAC under seal.
        SCB ignores that fact and pretends that by issuing a document request that is nearly
identical to the original subpoena, the Freeman plaintiffs are “in reality” demanding production of
records for hundreds of persons over 19 years, “regardless of whether or not those individuals or
entities have anything to do with the allegations in the Freeman II SAC.” Ltr. at 4. But SCB knows
better—again, Plaintiffs have consistently made their intention for the request clear:
       [I]f Your Honor were to grant, assuming Standard Chartered objects, which I think
       it’s indicated it would, that the discovery is appropriate, all we’d be seeking now
       is to file the unredacted version of the complaint under seal.
2/5/2024 Transcript at 10 (emphasis added). See id. at 46 (“[after plaintiffs serve the subpoena,]
the way they would, quote/unquote, ‘use’ the material is simply filing an unredacted version of the
complaint under seal.”). Indeed, the renewed request itself states: “To minimize Your burden, You
may respond to the document request herein by producing, or consenting to the transmittal of, the
same information You previously produced in response to the subpoena served on You in Bartlett
… to the Plaintiffs in this Action.” ECF No. 374-1 at page 10 of the PDF.
       In fact, SCB itself has told the Freeman court that should the Court “be inclined” to
consider the redacted allegations it already declined to strike, then SCB would request that:
       [T]he Court (i) limit the scope of discovery only to the specific banking records
       from which Plaintiffs sourced the redacted allegations in the SAC; and (ii) require
       that any such information be kept confidential by the Freeman II parties and those
       portions of the SAC be filed under seal in Freeman II.
Id. at page 6. Put simply, that is precisely what the Freeman plaintiffs have consistently
proposed and therefore they readily accept.
        SCB’s overwrought objections and feigned indignation have thus been a colossal waste of
both Courts’ time and only elevate the significance of the redacted allegations that it repeatedly
claims are irrelevant to the Freeman plaintiffs’ claims. Accordingly, consistent with this Court’s
prior statement that “discovery may be cross-applied” if and when Judge Chen “commence[d]
discovery,” it should determine that the Freeman court-directed document request to SCB does not
run afoul of the PO because the PO does not prohibit disclosure by SCB, the entity “that originally
controlled the evidence,” Iftikar, 2023 U.S. Dist. LEXIS 68225, at *7.
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                                               Respectfully submitted,


                                               /s/ Michael J. Radine


cc: All counsel (via ECF)

Encl.
